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DESAWARE SUPERIOR COURT ae
STATE OF INDIANA DALAWARE COUNTY, NDIA THE DELAWARE COUNTY COURT SYSTEM

COUNTY OF DELAWARE )ugy gq yggo 1992 TERN

STATE OF INDIANA -> CAUSE NO: 18D02-9204-CF-46
VS. SODGE

WILLIAM E. BARNHOUSE MOTION TO SUPPRESS #2

Comes now William E. Barnhouse, by counsel, Jack Quirk, Public
Defender, and files this Motion to Suppress as follows:

1. That he is the defendant in this cause of action.

2. That the defendant was arrested and held several miles from
the scene of a crime.

3. That the agents of the State allowed the alleged victim to
view the defendant. by himself and without any benefit of any safe-
guards.

4. That all testimony regarding identification should be
excluded at trial because the pre-trial identification procedure was
tainted by its agent of the State.

WHEREFORE, the defendant prays that the Court grant this motion
and exclude all testimony concerning identification at trial, and for

all other relief just and proper.

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Jidck Quirk
Public Defender

CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing Motion to Suppress
#2 has been furnished to the Prosecutor's Office of Delaware County on
or before the filing thereof.

DATED this 30th day of December, 1992.

   

aoe

Ja@ék Quirk

 
